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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND



 UNITED STATES OF AMERICA


                V.

                                                             Grim. Action No. TDC-12-0379
 OLUWASEUN SANYA,                                            Grim. Action No. TDG-13-0121


        Defendant.




                                 MEMORANDUM ORDER


       Pending before the Court is Defendant Oluwaseun Sanya's Emergency Motion for

Compassionate Release.     On May 18, 2015, the Court sentenced Sanya to 90 months of

imprisonment on the charge ofconspiracy to commit access device fraud, in violation of 18 U.S.C.

§ 1029(b)(2), in Case No. TDC-12-0379. On September 11, 2015, the Court sentenced Sanya in

Case No. TDC-13-0121 to a total term of imprisonment of81 months,to run consecutively to the

sentence imposed in Case No. TDC-12-0379, after Sanya was convicted of access device fraud, in

violation of 18 U.S.C. § 1029(a)(2), and aggravated identity theft, in violation of 18 U.S.C. §

1028A(a)(l). Sanya is presently designated to the United States Penitentiary Hazelton ("USP-

Hazelton") in Bruceton Mills, West Virginia. Including pretrial detention, Sanya has served

approximately 95 months of the total of 171 months to which he has been sentenced and is

presently scheduled to be released, assuming good time credits, on March 9,2025.

       In his Motion, Sanya seeks a reduction of his sentence under a statutory provision

commonly referred to as the "compassionate release" provision because of the COVID-19

pandemic and the significant health risk that exposure to the coronavirus would pose to him in

light of various medical conditions. The Government opposes the Motion.
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                                          DISCUSSION


        Ordinarily,"[t]he court may not modify a term ofimprisonment once it has been imposed."

18 U.S.C. § 3582(c)(2018). This general rule is subject to certain exceptions, including the

compassionate release provision, which allows the Bureau of Prisons ("BOP") to seek a

modification ofa prisoner's sentence. See id § 3582(c)(1)(A). Under the First Step Act of2018,

Pub. L. No. 115-391, 132 Stat. 5194(2018),the compassionate release provision was modified to

also allow prisoners to seek a sentencing reduction directly from the Court. The provision now

provides, in relevant part, that:

        The court may not modify a term ofimprisonment once it has been imposed except
       that:


       (1)     in any case that—

           (A)     the court, upon motion ofthe Director ofthe Bureau ofPrisons, or upon
                   motion of the defendant after the defendant has fully exhausted all
                   administrative rights to appeal a failure of the Bureau of Prisons to
                   bring a motion on the defendant's behalf or the lapse of 30 days fi:om
                   the receipt of such request by the warden of the defendant's facility,
                   whichever is earlier, may reduce the term of imprisonment (and may
                   impose a term of probation or supervised release with or without
                   conditions that does not exceed the unserved portion of the original
                   term ofimprisonment), after considering the factors set forth in section
                   3553(a) to the extent that they are applicable, if it finds that—

                   (i)     extraordinary and compelling reasons warrant such a reduction;



                   and that such a reduction is consistent with applicable policy
                   statements issued by the Sentencing Commission[.]

18 U.S.C. § 3582(c)(1)(A). The parties agree that Sanya has satisfied the requirement to exhaust

administrative remedies because he sent a request for compassionate release to the Warden of

USP-Hazelton on June 30,2020,and more than 30 days have elapsed since that request was made.
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        Sanya argues that the COVID-19 pandemic and his specific vulnerability to COVID-19

based on certain medical conditions present "extraordinary and compelling reasons" that warrant

a reduction in his sentence to time served. In the context of the COVID-19 pandemic, the Court

has concluded that the requirement of"extraordinary and compelling reasons" within the meaning

of 18 U.S.C. § 3582(c)(1)(A)can be satisfied when the defendant is at high risk for death or severe

illness from COVID-19 based on age, medical conditions, or other factors and is incarcerated

within a prison in which there is imminent risk of exposure to the coronavirus.

        Sanya is presently 35 years old and asserts that he has hypertension, respiratory infections,

and kidney problems. The guidance of the Centers for Disease Control and Prevention("CDC")

states that an individual with hypertension "might be at increased risk for severe illness from

COVID-19," which places hypertension among conditions in the second tier ofseriousness, below

those conditions that definitively place someone "at increased risk." See People with Certain

Medical       Conditions,       Ctrs.      for      Disease       Control      and       Prevention,

https://www.cdc.gOv/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

conditions.html (last visited Nov. 3, 2020). Although Sanya's medical records reflect that he has

a history of hypertension, they state that the condition is "diet controlled," provide no evidence of

any need for medication or treatment, and list multiple 2019 blood pressure readings that did not

reflect that they are above normal levels. Med. Records at 18, 22,31 Mot. Ex. I, ECFNo. 102-1.

The records also provide scant evidence of respiratory infections or kidney problems and do not

establish that Sanya has any ofthe specific respiratory or kidney conditions identified by the CDC
as placing an individual at high risk for severe illness from COVID-19. Thus,even if Sanya could
be classified as having a high-risk condition based on his history ofhypertension, his present health

circumstances do not rise to level of extraordinary and compelling reasons warranting a sentence
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reduction. This conclusion is bolstered by the fact that there are only limited cases of COVID-19

at USP-Hazelton. As of November 3, 2020, there were only two inmates and two staff members

with active cases ofCOVID-19,in addition to 24 other inmates and staff who had COVID-19 have

now      recovered.      Federal      Bureau      of     Prisons     COVID-19        Coronavirus,

https://www.bop.gov/coronavirus/(last visited Nov. 3,2020).

        Even if there were extraordinary and compelling reasons, compassionate release would

also require consideration of the factors in 18 U.S.C. § 3553(a) and an assessment of whether a

sentence reduction is consistent with "applicable policy statements issued by the Sentencing

Commission." 18 U.S.C. § 3582(c)(1)(A). Although the relevant policy statement in the

sentencing guidelines permits a reduction based only on meeting the broad category of

"extraordinary and compelling reasons," U.S.S.G. § 1B1.13(1)(A)& app. note 1(D), it specifically

requires consideration of whether the prisoner presents a danger to others or to the community,

U.S.S.G. § IBl.13(2).

        As to the § 3553(a) factors, the original sentences appropriately balanced the purposes of

sentencing and reflected the nature and circumstances ofSanya's offenses, as the identity theft and

fraud activity was very serious and detrimental to the community. Although the consecutive

sentences resulted in a lengthy overall sentence for someone with only a limited criminal record,

they were justified and appropriate because Sanya committed the second set of offenses while on

pre-sentence release for the first offense. See 18 U.S.C. § 3147. Particularly where Sanya has

had several infractions while incarcerated, the § 3553(a) factors do not provide a basis to warrant

the requested sentence reduction. Under these circumstances, the Court need not determine

whether Sanya continues to present a danger to the community.
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                                   CONCLUSION


      For the foregoing reasons, it is hereby ORDERED that Sanya's Emergency Motion for

Compassionate Release, ECF No. 100, is DENIED.




Date: November 4,2020
                                                 THEODORE D. CHUAN<
                                                 United States District Jndi
